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17   V5 Technologies, LLC, d/b/a Cobalt Data Centers

18
                                   UNITED STATES DISTRICT COURT
19
                                       DISTRICT OF NEVADA
20
     V5 TECHNOLOGIES, LLC, d/b/a COBALT                Case No. 2:17-cv-02349-KJD-NJK
21   DATA CENTERS,
22                    Plaintiff,                       PLAINTIFF COBALT’S MOTION
                                                       TO EXCEED PAGE LIMIT OR
23          v.                                         ATTACH DISCOVERY
                                                       REQUESTS AND RESPONSES TO
24   SWITCH, LTD., a Nevada limited company;           FORTHCOMING MOTION TO
     SWITCH BUSINESS SOLUTIONS, LLC, a                 COMPEL
25   Nevada limited liability company; SWITCH
     COMMUNICATIONS GROUP L.L.C., a
26   Nevada limited liability company; SWITCH,
     INC., a Nevada corporation,
27
                      Defendants.
28


      COBALT’S MOTION TO EXCEED PAGE LIMIT OR ATTACH DISCOVERY REQUESTS AND RESPONSES
                           TO FORTHCOMING MOTION TO COMPEL – Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 50 Filed 04/13/18 Page 2 of 7


 1             Plaintiff V5 Technologies, LLC, d/b/a/ Cobalt Data Centers’ (“Cobalt”) intends to file a

 2   motion to compel further responses and production of documents responsive to Cobalt’s first

 3   requests for production to defendants (“Switch”). As Cobalt will show in its motion to compel,

 4   all of Switch’s responses to Cobalt’s requests — which Cobalt served six months ago — blatantly

 5   violate Rule 34 of the Federal Rules of Civil Procedure, and Switch’s meager production of

 6   documents to date is far from complete and wholly non-compliant with the Order Regarding

 7   Electronically Stored Information the Court entered on December 26, 2017 (ECF No. 49).

 8             Cobalt intends for its motion to compel to comply with Local Rule 26-7(b), which

 9   provides:

10             All motions to compel discovery or for a protective order must set forth in full the
11             text of the discovery originally sought and any response to it.
     Local R. 26-7(b). However, including the full text of all of the requests and responses at issue in
12
     Cobalt’s motion to compel would cause the motion to compel to far exceed the 24-page limit.
13
     See Local R. 7-3(b). There is no way for Cobalt both to comply with Local Rule 26-7(b) and to
14
     comply with Local Rule 7-3(b)’s page limit requirement.
15
               Cobalt therefore respectfully requests the Court grant Cobalt permission either (1) to
16
     exceed the page limit applicable to its motion to compel by 84 pages — the length of Cobalt’s
17
     requests and Switch’s responses — thereby allowing Cobalt to set forth in full, in the motion to
18
     compel, the text of the requests and responses, or (2) to attach to Cobalt’s motion to compel
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     Cobalt’s requests and Switch’s responses, rather than setting them forth in the motion to compel
20
     itself.
21

22
     Dated: April 13, 2018                       By: s/ I. Scott Bogatz
23                                               I. Scott Bogatz
                                                 Nevada Bar No. 3367
24                                               Kerry E. Kleiman
                                                 Nevada Bar No. 14071
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       COBALT’S MOTION TO EXCEED PAGE LIMIT OR ATTACH DISCOVERY REQUESTS AND RESPONSES
                            TO FORTHCOMING MOTION TO COMPEL – Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 50 Filed 04/13/18 Page 3 of 7


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                                           V5 TECHNOLOGIES, LLC, d/b/a COBALT
14                                         DATA CENTERS

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         COBALT’S MOTION TO EXCEED PAGE LIMIT OR ATTACH DISCOVERY REQUESTS AND RESPONSES
                              TO FORTHCOMING MOTION TO COMPEL – Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 50 Filed 04/13/18 Page 4 of 7


 1                                        PROOF OF SERVICE

 2          I hereby certify that I am employed in Las Vegas, Nevada. I am over the age of 18 and

 3   not a party to the within action. My business address is:

 4          REID RUBINSTEIN & BOGATZ
 5          Bank of America Plaza
            300 South 4th Street, Suite 830
 6          Las Vegas, NV 89101

 7          On April 13, 2018, I caused the foregoing document(s) to be filed via the Court’s

 8   CM/ECF system, which will accomplish service on all parties of record through their counsel.

 9          I declare under penalty of perjury under the laws of the United States of America that the

10   above is true and correct.

11          Executed on April 13, 2018, at Los Angeles, California.

12

13                                                By: s/ I. Scott Bogatz
                                                  I. Scott Bogatz
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                                                                                    PROOF OF SERVICE
Case 2:17-cv-02349-KJD-NJK Document 50 Filed 04/13/18 Page 5 of 7




         Exhibit 1

    Declaration of I. Scott Bogatz, Esq.
     Case 2:17-cv-02349-KJD-NJK Document 50 Filed 04/13/18 Page 6 of 7


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17   V5 Technologies, LLC, d/b/a Cobalt Data Centers

18                                 UNITED STATES DISTRICT COURT
19                                     DISTRICT OF NEVADA
20   V5 TECHNOLOGIES, LLC, d/b/a COBALT                Case No. 2:17-cv-02349-KJD-
     DATA CENTERS,                                     NJK
21
                      Plaintiff,
22                                                     DECLARATION OF I. SCOTT
            v.                                         BOGATZ IN SUPPORT OF
23                                                     COBALT’S MOTION TO
     SWITCH, LTD., a Nevada limited company;           EXCEED PAGE LIMIT OR
24   SWITCH BUSINESS SOLUTIONS, LLC, a                 ATTACH DISCOVERY
     Nevada limited liability company; SWITCH          REQUESTS AND RESPONSES TO
25   COMMUNICATIONS GROUP L.L.C., a                    FORTHCOMING MOTION TO
     Nevada limited liability company; SWITCH,         COMPEL
26   INC., a Nevada corporation,
27                    Defendants.
28


                                                                 DECLARATION OF I. SCOTT BOGATZ
                                                                      Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 50 Filed 04/13/18 Page 7 of 7


 1          I, I. Scott Bogatz, declare:

 2          1.      I am an attorney duly licensed to practice law in the State of Nevada. I am counsel

 3   for plaintiff V5 Technologies, LLC, d/b/a Cobalt Data Centers (“Cobalt”) in this action. I submit

 4   this declaration in support of Cobalt’s motion to exceed page limit or attach discovery requests

 5   and responses to forthcoming motion to compel. I have personal knowledge of the facts stated

 6   herein and could testify competently thereto if called to do so.

 7          2.      Cobalt intends to file a motion to compel further responses and production of

 8   documents responsive to Cobalt’s first requests for production to defendants (“Switch”).

 9          3.      Local Rule 26-7(b) requires that “[a]ll motions to compel discovery or for a

10   protective order must set forth in full the text of the discovery originally sought and any response

11   to it.” Local R. 26-7(b).

12          4.      Cobalt’s requests at issue in Cobalt’s forthcoming motion to compel are 24 pages

13   long. Switch’s responses are 60 pages long. Including the full text of these requests and

14   responses in Cobalt’s motion to compel would cause the motion to compel to greatly exceed the

15   24-page limit. There is no way for Cobalt both to comply with Local Rule 26-7(b) and to comply

16   with Local Rule 7-3(b)’s page limit requirement. For this reason, Cobalt seeks permission from

17   the Court either (1) to exceed the page limit by 84 pages (thereby allowing Cobalt to set forth in

18   full, in the motion to compel, the text of the requests and responses) or (2) to attach to Cobalt’s

19   motion to compel Cobalt’s requests and Switch’s responses, rather than setting them forth in the

20   motion to compel itself.

21          I declare under penalty of perjury under the laws of the United States of America that the

22   foregoing is true and correct.

23          Executed on this 13th day of April, 2018, at Las Vegas, Nevada.

24
                                                 s/ I. Scott Bogatz____
25                                                  I. Scott Bogatz
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                                                     -1-

                                                                        DECLARATION OF I. SCOTT BOGATZ
                                                                             Case No. 2:17-cv-02349-KJD-NJK
